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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                                               )      Chapter 11
                                                     )
BOY SCOUTS OF AMERICA AND                            )      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,                                   )
                                                     )      Jointly Administered
                                       1
                              Debtors .              )
                                                     )      Re: Docket No. 1974


            OBJECTION OF TIMOTHY D. KOSNOFF, ESQUIRE
          TO INSURERS’ MOTION FOR AN ORDER AUTHORIZING
          RULE 2004 DISCOVERY OF CERTAIN PROOFS OF CLAIM

         Timothy D. Kosnoff, Esquire hereby submits this objection (the “Objection”),

to Insurers’ Motion for an Order Authorizing Rule 2004 Discovery of Certain Proofs

of Claim [Docket No. 1974] (the “Motion”). Mr. Kosnoff has joined in the Objection

to the Motion filed by the Coalition of Abused Scouts [Docket No. 2043] (the

“Coalition” and the “Coalition’s Objection”) and incorporates its arguments herein

by reference. In further support of the Objection, Mr. Kosnoff respectfully submits

the following:

                             PRELIMINARY STATEMENT

         1.    This is the second time that the Insurers have sought to depose Mr.

Kosnoff. Last time, the basis for the deposition was an email that Mr. Kosnoff had


1
 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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authored and sent as a privileged communication only to have it broadcast by a

faithless attorney. That effort failed as the Court found no basis on which Mr.

Kosnoff’s deposition could be justified. This time, the basis for the deposition is the

exact same email along with two badly misleading statistics. The Motion offers no

examples of conduct associated with Mr. Kosnoff that is remotely inappropriate.

Accordingly, the Motion is without merit.

      2.     There is good reason that the Insurers can do no more to assail Mr.

Kosnoff than parade an email with which the Court is already familiar. The fact is

that Mr. Kosnoff did the hard work of assuring himself that there was evidentiary

support, or likely would be upon further investigation, for each proof of claim that

he signed. Mr. Kosnoff based his conclusions upon claimant information that was

carefully and systematically collected, preserved and organized in a reliable fashion.

Mr. Kosnoff has not utilized a single claim aggregator or any of the other third

parties identified in the Motion and finances his practice himself without the

involvement of third party litigation funders. Against these truths, the Insurers have

presented no evidence that the proofs of claim that Mr. Kosnoff signed are anything

but valid, bona fide claims asserted by men who sustained unspeakable abuse at the

hands of those whom they trusted at a tender age.

      3.     The Motion is easily revealed, therefore, as simply one more device to

harass and burden the insurance companies’ opposing counsel. The Insurers cannot


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-- and barely attempt to -- establish any wrongdoing on Mr. Kosnoff’s part or on the

part of his clients. They cannot do so, because there has been no wrongdoing. The

discovery that the Motion seeks is unwarranted and designed by overzealous

insurance lawyers to waste valuable time and resources in hopes that they can delay

and minimize compensation for those who have suffered so greatly. Therefore, Mr.

Kosnoff respectfully requests that the Court deny the Motion.

                            FACTUAL BACKGROUND

      4.     Mr. Kosnoff represented his first child sexual abuse victim in 1996.

Over the last 25 years, he has devoted his entire professional life to pursuing

compensation for these most vulnerable victims of despicable abuse. His enormous

successes have been widely reported in the New York Times, Washington Post and

national television broadcasts in the United States and Canada. Mr. Kosnoff has

pursued cases against the Mormon Church, the Catholic Church and several other

institutions. He is one of the few lawyers in the country to have tried multiple child

sex abuse cases to verdict and can aptly be considered the nation’s most experienced

practitioner in this area of law.

      5.     Mr. Kosnoff believes in a few simple principles. If abuse has occurred,

the victim is deserving of fair compensation. And if insurance companies are

unwilling to meet their indemnity obligations to a client, a lawyer must be ready and

willing to take that client’s case to a jury. Above all, justice for victims of abuse


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must be pursued without distraction. It is that passionate devotion to victims that

drives Mr. Kosnoff and that motivates him to express himself plainly and forcefully.

      6.     The email that the Insurers make so much of is one such expression.

When other attorneys who have claimed to represent the best interests of the victims

in this case pursued a course that would leave hundreds of millions of dollars -- if

not more -- inaccessible to victims, Mr. Kosnoff made his contrary strategy clear.

Admittedly choosing words that were coarser than necessary, Mr. Kosnoff stands by

the ideas he communicated. Of course, he never expected that an attorney bound by

common interest and other privileges would make that email publicly available. But

Mr. Kosnoff is unashamed that he fervently desires to secure maximum recovery for

all victims of abuse in this case. Knowing that his sterling reputation and national

renown would attract a large number of clients to him and to those with whom he is

allied, Mr. Kosnoff confidently announced that his strategy would, in the end,

prevail.

      7.     His email, of course, is not evidence of fraud or wrongdoing. To the

contrary, it is evidence of a lawyer’s zeal for justice and his clients’ interests. The

Court has already reviewed the email, considered it and dismissed the Insurers’

argument that it provides a basis for discovery on the issue before the Court. (“Mr.

Kosnoff’s poor judgment in how he expresses himself or how he views other

professionals is not, alone, a basis to compel his deposition related to Rule 2019.”


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10/14/20 Hrg. Tr. at 12-13.) Nothing has occurred in the meantime to disturb that

conclusion.

      8.      Nevertheless, aware of Mr. Kosnoff’s unblemished track record of

vehement pursuit of justice for victims of child sexual abuse, the Insurers and those

in league with them remain intent on marginalizing him. Indeed, they have good

reason to want to do so. It can reasonably be said that the widespread abuse at the

hands of the Boy Scouts would never have been revealed had it not been for Mr.

Kosnoff’s relentless, expensive and uncompensated efforts to catalog decades of

records that detailed episodes of abuse across the Boy Scouts network. Having

learned of and then tracked down a trove of “Ineligible Volunteer Files” maintained

by the Boy Scouts, Mr. Kosnoff spent at least 200,000 hours over the course of years

reading and abstracting the information. He filed his first case involving Boy Scout

sexual abuse in 2002. No other lawyer in the country can claim this degree of

commitment to and experience with the issues that lie at the heart of this bankruptcy.

      9.      Mr. Kosnoff has allied himself with other attorneys who have shared

some of his views. Originally, he participated in the Coalition, but withdrew from

that association last year, as the Court learned during last Fall’s motion practice. He

has called the small group of firms that share resources with him “Abused in

Scouting.” That group is not a law firm and is not a legal entity. It is simply a

collection of lawyers who work cooperatively to make these proceedings known to


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abuse victims, to reassure those victims that they are not alone and that help is

available to them and to present and pursue their claims effectively and aggressively.

      10.    Of course, the Insurers view Mr. Kosnoff as an existential threat.

Insurance companies’ greatest fear is a successful, well-known, zealous and

uniquely qualified litigator with a large number of airtight cases. Facing indemnity

obligations in the billions of dollars, the Insurers have little hope prevailing in a

battle against the victims. Their target, therefore, must be the victims’ attorney. It

is a well-used page in the insurance industry’s playbook and Mr. Kosnoff has the

distinction of being the target twice in less than six months.

      11.    But the Insurers have nothing to work with. Casting aspersions about

Mr. Kosnoff’s email is the opening salvo, which fell far short last time and should

fare no better this time. The only other mention of Mr. Kosnoff in the Motion is in

a chart that purports to show that Mr. Kosnoff signed a small percentage of his

clients’ proofs of claim on the eve of the bar date. That unremarkable fact, if relevant

for any purpose, demonstrates Mr. Kosnoff’s commitment to preserving his clients’

right to recover even when a pandemic and the press of time present obstacles to

securing the clients’ own signatures.

      12.    As set forth at length in the Coalition’s Objection, that issue has already

been considered and resolved in this case. The Court entered an order authorizing

counsel to sign proofs of claim for these very reasons. So long as counsel is assured


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that there is evidentiary support for each claim he signed or that further investigation

would likely provide that evidentiary support, counsel may appropriately sign proofs

of claim. Mr. Kosnoff had that assurance and with very good reason.

      13.    Behind every proof of claim that Mr. Kosnoff signed is a system and

process designed to assist victims, collect their stories, record their detailed

information and establish the legitimacy of their claims. The process begins with a

telephone call or email inquiry from a potential claimant. Trained individuals then

conduct recorded telephone interviews with each inquiring person. If the person is

found to qualify to make a claim, detailed information is obtained, preserved and

arranged in a standardized format and assessed at multiple levels.

      14.    For each and every proof of claim that Mr. Kosnoff signed, he reviewed

every single claimant’s information. Where information was somehow lacking, he

refused to sign the proof of claim and endeavored to satisfy himself that the requisite

elements of a valid claim were in fact demonstrable. As the bar date approached and

thousands of potential claimants came forward, it was not always possible for Mr.

Kosnoff to obtain his clients’ signatures on proofs of claim. In those instances, he

relied on the information that had been systematically collected to assure himself of

the evidentiary support or that such support would soon be available for every single

proof of claim and only then affixed his signature.




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      15.     To carry out this painstaking process, Mr. Kosnoff devoted entire days

from early morning to late in the evening, always reading file materials and claim

information himself. When he was satisfied that a client presented a bona fide claim,

he signed those proofs of claim when clients were unable to do so themselves in

advance of the bar date. Had Mr. Kosnoff done otherwise and allowed the bar date

to pass without submitting a client’s legitimate proof of claim, he would be subject

to much more severe criticism and discipline than anything the Insurers have

presented.

      16.     Lest the Court believe that Mr. Kosnoff’s work ended at the bar date, it

is important to note his ongoing efforts. He has submitted amended proofs of claim

where clients have become available to sign proofs of claim and where further

investigation has filled gaps in the information presented. Consistent with Mr.

Kosnoff’s decades-long practice in child sexual abuse litigation, he works tirelessly

to ensure that his clients’ claims are fully substantiated and manifestly deserving of

compensation.

      17.     The Insurers, however, ignore all these efforts and resort instead to

innuendo and surmise. They have identified specific instances in which they believe

others have performed in a way that raises questions. Not one of those instances

implicates Mr. Kosnoff. Accordingly, the Court should, we respectfully submit,

reject the Insurers’ accusations as wholly unsubstantiated.


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                                    ARGUMENT

      18.    The Motion seeks insurance companies’ written and oral discovery

from an attorney who represents thousands of tort claimants. Discovery from

opposing counsel has been described as “a drastic measure.” M&R Amusements

Corp. v. Blair, 142 FRD 304, 305 (N.D. Ill. 1992). Depositions of opposing counsel

are generally disfavored. “Such a deposition provides a unique opportunity for

harassment, it disrupts the opposing attorney's preparation for trial, and could

ultimately lead to disqualification of opposing counsel if the attorney is called as a

trial witness.” Peerless Heater Co. v. Mestek, Inc., 2000 WL 151281 at * 2 (E.D. Pa.

2000). Written discovery is at least as disfavored. Ample authority for that principle

is provided in the Coalition’s Objection and will not be repeated here.

      19.    Accordingly, while the requirement that the movant must show good

cause for the entry of a protective order remains, a demand to depose opposing

counsel bears close scrutiny and places a burden upon the party seeking the

deposition. The Court in Lebovic v. Nigro, 1997 WL 83735, *1 (E.D. Pa 1997) held

that a deposition of opposing counsel is “typically only permitted where a clear need

is shown.” Another Court in a neighboring jurisdiction stated, “Many courts have

found that it is appropriate to grant such an order to prevent the deposition of a party's

attorney by an adversary unless he can show that the information sought is relevant,

non-privileged and critical to the preparation of the case and that there is no other


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way to obtain the information.” Slater v. Liberty Mutual Ins. Co., 1999 WL 46580

(E.D. Pa. 1999) at *1 (citations omitted).

      20.     Other courts have held that an attorney’s deposition should be

prevented if the movant,

      establishes undue burden or oppression measured by (1) the relative
      quality of information in the attorney's knowledge, that is, whether the
      deposition would be disproportional to the discovering party's needs;
      (2) the availability of the information from other sources that are less
      intrusive into the adversarial process; and (3) the harm to the party's
      representational rights of its attorney if called upon to give deposition
      testimony.

Johnston Development Group, Inc. v. Carpenters Local Union No. 1578, 130 F.R.D.

348, 353 (D.N.J. 1990). Another court in this Circuit stated the three factors for

consideration slightly differently:

      (1) The extent to which the proposed deposition promises to focus on
      central factual issues, rather than peripheral concerns; (2) the
      availability of the information from other sources, viewed with an eye
      toward avoiding cumulative or duplicative discovery; and (3) the harm
      to the party's representational rights resulting from the attorney's
      deposition.

Frazier v. SEPTA, 161 FRD 309, 313 (1995).

      21.     The Insurers seek Mr. Kosnoff’s deposition and written discovery, but

have failed to establish a basis to justify such “a drastic measure.” The Insurers

cannot establish “a clear need” for the discovery and have identified no non-

privileged information that is critical to their preparation of the case. Instead, the

Insurers rehash previously unsuccessful arguments about an email and then hope
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that specific accusations against others who are unassociated with Mr. Kosnoff will

be enough to paint Mr. Kosnoff with the same brush. Of course, neither proves good

cause and a clear need for the drastic measures they ask the Court to take.

      22.     Should the Court entertain the idea that Mr. Kosnoff should submit to

the Insurers’ discovery demands, the scope of the proposed discovery is entirely

overbroad, unduly burdensome and well beyond the scope of the inquiry the Insurers

claim to pursue. In the event that the Court permits some discovery to take place,

Mr. Kosnoff respectfully submits that it should be closely tailored to those narrow

issues on which the Court deems discovery appropriate. Mr. Kosnoff remains

amenable to meeting and conferring with the Insurers as to the scope of any

discovery that the Court deems permissible.

      23.     That outcome, however, would be inappropriate. The Insurers’ animus

toward Mr. Kosnoff is undisguised. They fear him and they fear the prospect of

actually meeting the indemnity obligations they took on when they collected

premiums from the Boy Scouts for decades. Their fear and animus, however, are no

justification for taking discovery of an opposing lawyer. Therefore, the Motion

should be denied.




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                                   CONCLUSION

      24.     Therefore, since the Insurers have offered no justification for the drastic

measure of taking discovery from attorneys who represent parties opposed to it in

these proceedings, Mr. Kosnoff respectfully requests that the Court enter an order

denying the Motion.



Date: February 5, 2021                   WILKS LAW, LLC

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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                       Jointly Administered
                              Debtors.


                                CERTIFICATE OF SERVICE

     I, David E. Wilks, hereby certify that on the 5th day of February, 2021, I caused a copy of the

following document to be served on the individual(s) on the attached service list(s) in the manner

indicated:

                    Objection of Timothy D. Kosnoff, Esquire
                    to Insurers’ Motion for an Order Authorizing
                    Rule 2004 Discovery of Certain Proofs of Claim



                                              /s/ David E. Wilks
                                              David E. Wilks (DE Bar No. 2793
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Boy Scouts – Service List re Middle Tennessee Council
Case No. 20-10343 (LSS)
Doc. No. 230125
01 – Overnight Delivery


Overnight Delivery
Middle Tennessee Council
Jet Potter Scout Service Center
3414 Hillsboro Pike
Nashville, TN 37215
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Boy Scouts of America and                        OVERNIGHT DELIVERY
Delaware BSA, LLC                                John A. Vos
2002 Service List EXPEDITED                      1430 Lincoln Avenue
Case No. 20-10343 (LSS)                          San Rafael, CA 94901
Document No. 227583.2
002 - Express Mail                               OVERNIGHT DELIVERY
005 - Overnight Delivery                         JPMorgan Chase Bank, NA
179 - Emails                                     Phil Martin
                                                 10 S Dearborn Street
                                                 Mail Code Il1-1415
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